 Case 2:20-cv-06408-RSWL-MRW Document 16 Filed 10/02/20 Page 1 of 2 Page ID #:65



 1
                                                                          JS-6
 2

 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11

12   Mia Labowitz,                          Case No.: 2:20-cv-06408-RSWL-MRWx
13               Plaintiff,                 Hon. Ronald S. W. Lew
14         v.                               ORDER FOR DISMISSAL WITH
                                            PREJUDICE
15   7111 Melrose Partners, LLC, a
     Delaware limited liability company;
16   and Does 1-10,                         Action Filed: July 17, 2020
                                            Trial Date: Not on Calendar
17               Defendants.
18

19

20   ///
21   ///
     ///
22
     ///
23
     ///
24
     ///
25   ///
26   ///
27   ///
28   ///
                                            1
                      [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
 Case 2:20-cv-06408-RSWL-MRW Document 16 Filed 10/02/20 Page 2 of 2 Page ID #:66



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Mia Labowitz’s (“Plaintiff”) action against Defendant 7111 Melrose
 5   Partners, LLC, (“Defendants”) is dismissed with prejudice. Each party will be responsible
 6   for their own fees and costs.
 7

 8

 9

10

11
              October 2, 2020                            /S/ RONALD S.W. LEW
     Dated:
12                                                     Hon. Ronald S. W. Lew
                                                       United States District Judge
13                                                     Central District of California
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             2
                       [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
